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 1    Samantha N. Hoffman (SBN 212135)
      HoffmanS(jiJ,jacksonlewis.com
 2    Nicole M. Shaffer (SBN 244366)
      Nicole.shaffertiaiacksonlcwis.com
 3    JACKSON LEWIS P.C.
      5000 Birch Streeh Suite 5000
 4    Newr0rt Beach, cA 92660
      (949 885-1360- Office
 5    (949 885-1380 - Fax
 6    Attomt0"s for Defendant INTERNATIONAL BUSINESS MACHINES
      CORPORATION
 7

 8

 9                              UNITED STATES DISTRICT COURT
10                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11

12    JANE DOE, an individual,                   CASE NO.         2:16-cv-4914
13                 Plaintiff,                    NOTICE OF REMOVAL OF ACTION
14          vs.                                  TO THE UNITED STATES DISTRICT
                                                 COURT FOR THE CENTRAL
15    INTERNATIONAL BUSINESS                     DISTRICT PURSUANT TO 28 U.S.C.
      MACHINES CORPORATION, a New                §§ 1332(a) AND 1441(a) AND (b)
16    York Corroration; BRIAN CHU, an
      individua and DOES 1-100, inclusive,
17                                               (Filed Concurrently With Certification as
                   Defendant.                    to Interested Parties; Declarations of
18
                                                 Nicole Shaffer and Brian Chu in Support of
19                                               Removal; and Notice of Corporate
20                                               Disclosure)

21                                               Complaint Filed:         May 26, 2016
22
23

24

25          TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
26    THE CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION AND TO
27    PLAINTIFF     JANE DOE AND HER ATTORNEYS             OF RECORD:
28


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                                                  THE UNITED STATES DISTRICT COURT
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 1           PLEASE      TAKE NOTICE          that Defendant    INTERNATIONAL         BUSINESS
 2     MACIDNES CORPORATION             ("IBM" or "Defendant") hereby invokes this Court's
 3    jurisdiction under the provisions of 28 U.S.C. sections 1332(a) and 1441(a) and (b) to
 4     remove this action from the Superior Court of California for the County of Los Angeles
 5     on the grounds of diversity jurisdiction. 28 U.S.C. §§ 1332(a), 1441(a) and (b).
 6           The following statement is submitted pursuant to 28 U.S.C. section 1446(a):
 7                                         JURISDICTION
 8           1.    The Court has original jurisdiction over this matter pursuant to 28 U.S.C.
 9     sections 1332 and 1441. This case may be removed pursuant to 28 U.S.C. sections 1332,
10     1441 and 1446 because it is a civil action between citizens of different states, and the
11    amount in controversy exceeds $75,000, exclusive of interest and costs.
12                                 TIMELINESS OF REMOVAL
13           2.    Plaintiff JANE DOE ("Plaintiff')     filed a Complaint against IBM, a New
14    York Corporation, and Brian Chu, an individual, on May 26, 2016, in Los Angeles
15    Superior Court, which the state court designated as Case No. BC621761.
16           3.    Plaintiff served IBM through its California registered agent for service of
17    process, CT Corporation, with the Summons and the Complaint on June 6, 2016 through
18    personal delivery. A true and correct copy of the Summons and Complaint are attached
19    as Exhibit "A" to Declaration of Nicole M. Shaffer ("Shaffer Decl.") filed concurrently
20    herewith.
21           4.    Chu, an individual, has not yet been served with the Summons and/or
22    Complaint. Declaration of Brian Chu ("Chu Decl."), ~ 4.)
23           5.    On June 2,2016, the Court filed a Notice of Case Management Conference,
24    as well as an OSC re Failure to File Proof of Service. True and correct copies of these
25    documents are attached as Exhibit "B" to Shaffer Decl. filed concurrently herewith.
26           6.    On June 7, 2016, Plaintiff filed Proof of Service of Summons on IBM. A
27    true and correct copy of the Proof of Service of Summons is attached as Exhibit "C" to
28    Shaffer Decl. filed concurrently herewith.

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 1           7.       On June 9, 2016, Plaintiff filed a Notice of OSC: Hearing re: Proof of
 2     Service and CMC. A true and correct copy of the Notice is attached as Exhibit "D" to
 3     Shaffer Decl. filed concurrently herewith.
 4           8.       The exhibits attached to the Shaffer Decl. constitute all the pleadings that
 5     have been served or filed in this matter. [See Shaffer Decl., ,-r7.J
 6           9.       Defendant's removal is timely because it has been filed within thirty (30)
 7     days after IBM was first served with a copy of Plaintiff s Summons and Complaint, the
 8     initial pleading upon which this removal is based, on June 6, 2016. (Shaffer Decl., ,-r8.
 9     See 28 U.S.C. section 1446(b); CCP §412.20(a)(3). Thus, Defendant's                 removal   IS

10    therefore filed within the time period mandated by 28 U.S.C. Section 1446(b).
11                      REMOVAL BASED ON DIVERSITY JURISDICTION
12                                          Diversity of Citizenship
13           10.      Diversity jurisdiction exists where there is diversity of citizenship between
14    the parties at the time the lawsuit is filed. Grupo Dataflux v. Atlas Global Group, LP,
15     541 U.S. 567,571 (2004).
16           11.      Defendant is informed and believes, as alleged by Plaintiff in the Complaint,
17    that Plaintiff was, at the time this action was commenced, and still is, a resident and
18    citizen of the State of California. (See, Exh. A, Complaint at,-r 2.)
19           12.      A corporation is a citizen of any state where it is incorporated and of the
20    state where it has its principal place of business. 28 U.S.C. § 1332(c). With respect to
21    ascertaining    a corporation's   principal place of business        for purposes of diversity
22    jurisdiction, the United States Supreme Court has adopted the "nerve center test." Hertz
23    v. Friend, 130 S. Ct. 1181, 1186 (2010).            Under the nerve center test, a corporation's
24    principal place of business is where a corporation's high level officers direct, control and
25    coordinate the corporation's activities.      rd.     A corporation can only have one "nerve
26    center."     Id. at 93-94.   In evaluating where a corporation's      "nerve center" is located,
27    courts will look to the center of overall direction, control, and coordination of the
28


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 1     company and will no longer weigh corporate functions, assets, or revenues in each state.
 2    Id.
 3              13.   IBM was, at the time of filing the Complaint in state court and at the time of
 4    removal still is, a New York corporation with its principal place of business in New
 5    York. (See, Exh. A, Complaint at ,-r 3; See also Printout from California Business Portal
 6    and       IBM       Corporate    Headquarters      Contact    information,     available     at
 7    http://www.ibm.com/contact/us/en/?lnk=ft        and attached hereto as Exhibits E and F to
 8     Shaffer Decl, filed concurrently herewith. Accordingly, based on the "nerve center" test,
 9    IBM is a citizen of New York. 28 U.S.C. § 1332(a)(1); Hertz v. Friend, 130 S. Ct. 1181
10    (2010).
11           14.      Individual defendant Chu, although not served, is and was, at the time of
12    filing the Complaint in state court, and at the time of removal, a citizen and resident of
13    Washington, and intends to remain as such. Chu Decl. at ,-r,-r 3, 4.
14           15.      Complete diversity of citizenship between the parties exists within the
15    meaning of28 U.S.C. section 1332.
16                                      Basis for Amount in Controversy
17           16.      The Complaint does not specify the total amount of monetary relief sought.
18    However, the failure of the Complaint to specify the total amount of monetary relief
19    sought by Plaintiff does not deprive this Court of jurisdiction.    See White v. lC. Penney
20    Life Ins. Co., 861 F.Supp. 25, 26 (S.D. W. Va. 1994) (defendant may remove suit to
21    federal court notwithstanding the failure of plaintiff to plead a specific dollar amount in
22    controversy; if the rules were otherwise, "any plaintiff could avoid removal simply by
23    declining .... to place a specific dollar value upon its claim.")      A defendant need only
24    establish by a preponderance of the evidence that it is more probable than not that the
25    plaintiff's claimed damages exceed the jurisdictional minimum. Sanchez v. Monumental
26    Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1997). Further, in determining whether a
27    complaint meets the amount in controversy threshold for a removal under 28 U.S.C.
28    § 1332(a), a court may consider the aggregate value of claims for compensatory damages

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 1     and attorney's fees. See e.g., Goldberg v. CPC Int'l, Inc., 678 F.2d 1365, 1367 (9th Cir.
 2     1982) (attorney's fees may be taken into account to determine jurisdictional amount);
 3     Clark v. Nat'l Travelers Life Ins. Co., 518 F.2d 1167,1168 (6th Cir. 1975) ("It is settled
 4     that the statutory penalty and a statutory attorney's fees can be considered in determining
 5     whether the jurisdictional amount is met.").
 6            17.      In determining whether the amount in controversy exceeds $75,000, the
 7     Court must presume the plaintiff will prevail on each and every one of his claims.
 8     Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F.Supp. 993, 1001 (C.D.
 9     Cal. 2002) (citing Burns v. Windsor Ins. Co., 31 F.3d 1092, 1096 (l1th Cir. 1994) (the
10     amount in controversy analysis presumes that "plaintiff prevails on liability") and Angus
11    v. Shiley Inc., 989 F.2d 142, 146 (3d Cir. 1993) ("the amount in controversy is not
12    measured by the low end of an open-ended claim, but rather by reasonable reading of the
13    value of the rights being litigated").       The argument and facts set forth herein may
14     appropriately     be considered   in determining    whether the jurisdictional   amount in
15    controversy is satisfied. Cohn v. Petsmart, Inc., 281 F.3d 837,843, n.1, (9th Cir. 2002)
16    (citing Willingham v. Morgan, 395 U.S. 402, 407 n.3 (1969)).
17           18.       The amount in controversy may include general and special compensatory
18    damages and attorney's fees which are recoverable by statute. Galt v. JSS Scandinavia
19     142 F.3d 1150, 1155-56 (9th Cir. 1998). The Court may examine the nature of the action
20    and the relief sought and take judicial notice of attorney's fee awards in similar cases.
21           19.       Ninth Circuit cases firmly establish that statutory attorneys' fees will be
22    included as a basis for determining the jurisdictional amount in controversy.       See Galt,
23    supra, 142 F.3d at 1155-56. Furthermore, such fees are calculable beyond the time of
24    removal. Simmons, supra, 209 F.Supp.2d at 1035.
25           20.       Punitive damages are also included in calculating the amount in controversy.
26    Davenport v. Mutual Ben. Health & Acc. Ass'n 325 F.2d 785, 787 (9th Cir. 1963); see
27    also Aucina v. Amoco Oil Co., 871 F.Supp. 332 (S.D. Iowa 1994).
28


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 1           21.    Although the Complaint does not allege a specific amount in controversy, it
 2     can be readily ascertained that the amount in controversy exceeds the requisite $75,000,
 3     exclusive of interest and costs.   28 U.S.C. § 1332(a).       Indeed, Plaintiffs   Complaint
 4     alleges Fraudulent Inducement; Negligent Misrepresentation;        Intentional Infliction Of
 5    Emotional Distress; Discrimination      In Violation Of Gov't Code §§12940 Et Seq.;
 6    Retaliation In Violation Of Gov't Code §12940(H); Failure To Accommodate Disability
 7    And Failure To Engage In An Interactive Process In Violation Of §§12940 Et Seq.;
 8    Failure To Prevent Discrimination, Harassment, And Retaliation In Violation Of Gov't
 9     Code §12940(K); Wrongful Termination In Violation Of Public Policy; For Declaratory
10    Judgment; Waiting Time Penalties (Cal. Labor Code §§201-203); Intentional Interference
11    With Prospective Economic Advantage; Promissory Estoppel; and Defamation.             Indeed,
12    Plaintiff asserts that her annual total cash compensation was estimated at $237,805, and
13    that she was eligible for a "competitive bonus program".        See, Exh. A, Complaint ~ ~
14     13,14. Plaintiff claims entitlement to past and future lost wages, as well as incentive
15    compensation and benefits. See, Exh. A, Complaint at ~ 87. Moreover, Plaintiffs Prayer
16    for Relief seeks: compensatory damages including lost wages, bonus, incentive pay, and
17    other benefits, special damages, general damages for mental pain, anguish, and emotional
18    distress, for waiting time penalties, punitive damages, costs of suit, and statutory
19    attorneys' fees.
20           22.    Although Defendant vigorously denies Plaintiff s allegations, if Plaintiff
21    were to prevail, the punitive damages alone could exceed the $75,000 jurisdictional
22    minimum. Moreover, Plaintiffs lead attorney, Lisa L. Maki, was admitted to practice in
23    California in 1992.     See Printout from California State Bar website for Ms. Maki' s
24    information                                                                                at
25    http://members.calbar.ca.gov/fallMemberSearchlQuickSearch?FreeText=Lisa%20Maki
26    attached as Exhibit G to Shaffer Decl. Defense attorney, Nicole M. Shaffer, has been
27                                   °
      practicing for approximately 1 years in California, and is familiar with fees requested by
28    plaintiff s counsel in similar actions filed in California state and federal courts alleging

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 1     Fair Employment and Housing Act violations and related claims. [See Shaffer Decl.,
 2     ~ 12.]    Based on Ms. Maki's experience, and Plaintiffs          allegations, it would not be
 3     unreasonable to expect that Plaintiffs attorney's fees will exceed the sum of $75,000.
 4              23.   Accordingly, Plaintiffs   allegations satisfy the jurisdictional prerequisite for
 5     amount in controversy as it cannot be said to a legal certainty that Plaintiff would not be
 6     entitled to recover the jurisdictional     amount.    Anthony v. Security Pacific Financial
 7     Services, Inc. 75 F.3d 311,315 (7th Cir. 1996); Watson v. Blankinship 20 F.3d 383,386-
 8     87 (lOth Cir. 1994).
 9              24.   For these reasons, this Court has original jurisdiction pursuant to 28 U.S.C.
10     section 1332, and this action may be removed by Defendant to this Court pursuant to 28
11    U.S.C. section 1441 based on diversity jurisdiction.
12                                                      VENUE
13              25.   Venue lies in the United States District Court for the Central District of
14     California pursuant to 28 U.S.C. §§ 1441(a) and 1332(a) because the state action was
15     filed in this District and this is the judicial district in which the action arose.
16                                      NOTICE TO COURT AND PARTIES
17              26.   Contemporaneously with the filing of this Notice of Removal in the United
18     States District Court for the Central District of California, written notice of the removal
19    will be given by the undersigned to counsel for Plaintiff and a copy of this Notice of
20    Removal will filed with the Clerk of the Superior Court for the State of California,
21    County of Los Angeles.
22
      Dated: July 6, 2016                        JACKSON LEWIS P.C.
23

24

25
                                                 By:
26

27
                                                 Attorneys for Defendant INTERNATIONAL
28                                               BUSINESS MACHINES CORPORATION

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                                                            THE UNITED STATES DISTRICT COURT
